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                                No. 17-20545

                        In the United States Court of Appeals
                                For the Fifth Circuit


              ENVIRONMENT TEXAS CITIZEN LOBBY, INC.,
                       AND SIERRA CLUB,
                                       Plaintiffs – Appellees,
                              v.

       EXXONMOBIL CORPORATION; EXXONMOBIL CHEMICAL
      COMPANY; EXXONMOBIL REFINING & SUPPLY COMPANY,
                                   Defendants – Appellants.


              Appeal from the United States District Court for the
        Southern District of Texas, Houston Division; No. 4:10-CV-4969


UNOPPOSED MOTION BY APPELLEES FOR EXTRA-LENGTH BRIEF



      Plaintiffs-Appellees Environment Texas Citizen Lobby, Inc. and Sierra

Club (“Plaintiffs”) respectfully file this unopposed motion for leave to file an

extra-long Brief of Appellees. See 5th Cir. R. 32.4.

      The ExxonMobil Defendants-Appellants (“Exxon” or “Defendants”) have

filed an extra-long brief containing 18,743 words. See Brief of Appellants (Doc.

#00514307487) at 77. Plaintiffs did not oppose Exxon’s motion for an extra-

long brief, and Exxon does not oppose this motion by Plaintiffs for leave to file
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a Brief of Appellees not exceeding 22,500 words.

      As Exxon pointed out in its motion for an extra-long brief (“Exxon

Motion”; Doc. #00514291591), this appeal (the second appeal to this Court in

this case) involves a complex regulatory scheme and an unusually large record.

This Court’s opinion following the first appeal illustrates the unusual

complexity of this litigation. See Environment Texas Citizen Lobby, Inc. v.

ExxonMobil Corp., 824 F.3d 507 (5th Cir. 2016). Following remand, the

district court entered new findings of fact and conclusions of law, a finding of

liability for over 16,000 days of violation of the Clean Air Act, and a judgment

of nearly $20 million for the Plaintiffs. See Exxon Motion, Ex. A-B.

      In the first appeal, this Court granted the parties leave to file principal

briefs of 23,400 words (appellants) and 25,000 words (appellees). Exxon

Motion, Ex. C-D. Plaintiffs filed the initial motion for leave in the first appeal,

explaining at length the reasons that this appeal satisfies the standards set forth

in this Court’s local rules. Exxon Motion, Ex. E. Exxon did not oppose that

motion.

      Most of those reasons are applicable to this second appeal. It is still true

that “[t]he large scope and factual complexity of this case, the large number of

issues raised in this appeal relating to both liability and remedy, and the

complex regulatory framework underlying this action, satisfy the requirement in



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this Court’s Local Rule 32.4 that extra-length briefs be allowed only for

‘extraordinary and compelling reasons.’” Exxon Motion, Ex. E at 1. The case

remains unusually complex, id. at 2-4, involving “approximately 4,000 separate

incidents ... over a period of eight years.” Id. at 2. The record remains

“extremely large,” id. at 3, consisting of 69,599 pages. The district court’s

Revised Findings of Fact and Conclusions of Law, finding liability under five

different counts on remand and applying a multi-factor balancing test for

assessment of civil penalties, run 101 pages. See Exxon Motion, Ex. B.

      In the wake of the recent amendment to the Rules of Appellate Procedure

reducing the word limit for principal briefs from 14,000 words to 12,500 words,

this Court amended 5th Cir. R. 32.4 to eliminate that rule’s former admonition

that motions for extra-length briefs require “extraordinary and compelling

reasons.” That amendment was a recognition that many complex appeals

cannot be briefed adequately in 12,500 words. Plaintiffs agree with Exxon that

this is such a case.

      Exxon’s Brief of Appellants runs 74 pages, and raises a wide range of

complicated factual, statutory, and constitutional issues. In addition, a

substantial amicus brief was filed in support of Exxon on January 19, 2018.

Appropriately addressing these briefs will require additional words. Plaintiffs

have worked diligently to prepare their response brief, and have attempted to



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summarize Exxon’s and amici’s positions, the relevant facts and case law, and

Plaintiffs’ arguments in response in as concise a manner as possible.

      Plaintiffs believe they can adequately address Exxon’s and amici’s

arguments in 22,500 words, which is 3,750 more words than Exxon was granted

(and a substantial reduction from the response brief approved in the first

appeal). This Court recognized in the first appeal that a response brief may

require a greater number of words than the opening brief, and Exxon does not

oppose the relief requested in this motion.

                                 CONCLUSION

     For all these reasons, Plaintiffs respectfully request that this Court grant

leave to file a Brief of Appellees not to exceed 18,750 words.


Dated: April 2, 2018                         Respectfully submitted,

                                             By: /s/ Joshua R. Kratka
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                    CERTIFICATE OF CONFERENCE

      I certify that the undersigned counsel conferred with counsel for Exxon,
and Exxon does not oppose an expansion of the word limit to 22,500 words.

                                            /s/ Joshua R. Kratka
                                            Joshua R. Kratka



                        CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2018, a copy of the foregoing Unopposed
Motion By Appellees For Extra-Length Brief was filed electronically with the
Clerk of the Court using the Court’s ECF System. Notice of this filing will be
sent electronically by operation of the Court’s electronic filing system to all
counsel of record.

                                            /s/ Joshua R. Kratka
                                            Joshua R. Kratka


                       CERTIFICATE OF COMPLIANCE
                        PURSUANT TO RULE 32(g)(1)

     1.    This document complies with the word limit of Fed. R. App. P.
27(d)(2)(A) because, excluding the parts of the document exempted by Fed. R.
App. P. 32(f), this document contains 648 words.

     2.     This document complies with the typeface requirements of Fed. R.
App. P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)
because this document has been prepared in a proportionally spaced typeface using
Microsoft Word 2011 word processing software in 14-point Times New Roman
typeface.

Dated: April 2, 2018                          /s/ Joshua R. Kratka
                                              Joshua R. Kratka



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